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                                                            December 16, 2016
   VIA ECF
   Magistrate Judge A. Kathleen Tomlinson
   United States District Court
   Eastern District of New York
   Long Island Courthouse,
   100 Federal Plaza
   Central Islip, New York 11722

           Re:        Quintanilla, et al. v. Suffolk Paving Corp., et al
                      Civil Action No. 09 Civ. 5331 (AKT)

   Hon. Magistrate Judge Tomlinson:

           I represent the Plaintiffs in this action and write to request a status conference and/or
   further direction from the court. In issue is the date the court will issue a written memorandum
   decision and order on the motion for summary judgment filed by Defendants on September 12,
   2013 [DN 140].

          On September 30, 2014, the court issued an order “granting in part and denying in part”
   Defendants’ Motion for Summary Judgment and which further stated: “Memorandum Decision
   and Order to follow.” To date, it seems the court has yet to issue this decision.

                                                    Respectfully submitted,

                                                            /s/

                                                    Ian F. Wallace
